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     c:.AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                                                                                                                           FILED
                Sheet I




                                              UNITED STATES DISTRICT Co
                                                  SOUTHERN DISTRICT OF CALIFORNIA8Y!!.-_ _ _ _ _....:!~~
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                          SHAKEEYA GREER (2)                                       Case Number: lICRI896·DMS
                                                                                    Gary P Burcham CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 30745298

    D
    THE DEFENDANT:
    ~ pleaded guilty to count(s) _1_o_f_th_e_I_n_dl_·c_tm_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ __

    D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea ofnot guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1594(c)                        CONSPIRACY TO VIOLATE SEX TRAFFICKING                                                                I




        The defendant is sentenced as provided in pages 2 through _ _.;.4_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on ceunt(s)
 ~ Count(s) 2 of the Indictment
                                                            --------------------------------­
                                                                                     is ~      areD dismissed on the motion of the United States.
 181 Assessment: $100.00 ordered waived.


 181 Fine waived.                                   D Forfeiture pursuant to order filed __________ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               FEBRUARY 28,2012
                                                                              "'" oflm""',,,," of   S.""".         _AX
                                                                              HON. DANA M. SABRAW
                                                                                                 ~lb~
                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                               llCRI896-DMS
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AO 2458 (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                             Judgment - Page _...;;2_ of      4
 DEFENDANT: SHAKEEYA GREER (2)
 CASE NUMBER: llCR1896-DMS
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FORTY-ONE (41) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    1&1 The court makes the following recommendations to the Bureau of Prisons:
         Defendant participate in the RDAP, 500-hour drug program.
         Defendant be designated to a facility as close as possible to San Diego, CA.



    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op·m.       on ______________
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                    By ________~~~~==~~~~~----------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                     l1CR1896-DMS
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ~ of _ _4'--_ _
DEFENDANT: SHAKEEYA GREER (2)                                                                          D
CASE NUMBER: llCR1896-DMS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
SEVEN (7) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ifapplicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000"pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check ifapplicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conftrm the
          defendant's compliance with such notification requirement.
                                                                                                                                        llCR1896-DMS
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 AO 245B   (Rev. 9/00) Judgment in a Criminal Case
           Sheet 4 - Special Conditions

                                                                               Judgment-Page - L of              4
 DEFENDANT:               SHAKEEYA GREER (2)
 CASE NUMBER:             IICRI896-DMS

                                  SPECIAL CONDITIONS OF SUPERVISION

1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
or data storage devices or media, and effects to search at any time, with or without a warrant, by any law enforcement
or probation officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or
unlawful conduct, and otherwise in the lawful discharge ofthe officer's duties. 18 U.S.C. 3563(b)(23); 3583(d)(3).

2. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed
by the court.

3. Not use or possess devices which can communicate data via modem or dedicated connection and may not have
access to the Internet without prior approval from the court or the probation officer. The offender shall consent to the
installation of systems that will enable the probation officer to monitor computer use on any computer owned or
controlled by the offender. The offender shall pay for the cost of installation of the computer software.

4. Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or counseling
setting.

5. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or
through any third-party communication, with the victim or victim's family, without approval ofthe probation officer.

6. Not accept or commence employment or volunteer activity without prior approval of the probation officer, and
employment should be subject to continuous review and assessment by the probation officer.

7. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre­
approved by the probation officer.
